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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK

    SECURITIES AND EXCHANGE
    COMMISSION,

                             Plaintiff,               21-cv-05350-PKC-RER
                 -against-

    RICHARD XIA, a/k/a YI XIA, and
    FLEET NEW YORK METROPOLITAN
    REGIONAL CENTER, LLC, f/k/a FEDERAL
    NEW YORK METROPOLITAN REGIONAL
    CENTER, LLC,

                             Defendants,

                  -and-
    JULIA YUE, a/k/a JIQING YUE;
    XI VERFENSTEIN; and XINMING YU,

                             Relief Defendants.




          PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO
             DEFENDANTS’ MOTION TO VACATE OR MODIFY
                        ASSET FREEZING ORDER


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            Plaintiff Securities and Exchange Commission (“SEC”) respectfully submits this

   memorandum of law in opposition to the motion, by defendants Richard Xia (“Xia”) and Fleet

   New York Metropolitan Regional Center (“Fleet,” and with Xia, “Defendants”), to vacate or

   modify the Court’s asset freeze order issued on September 27, 2021 (the “Freeze Order”).

                                    PRELIMINARY STATEMENT

            Nearly one year after the Court imposed the Freeze Order, Defendants not only seek to

   modify the Freeze Order but argue that the SEC is not entitled to any disgorgement at all and that

   none of Xia’s assets should be frozen. This unwarranted result would leave the victims of Xia’s

   fraud without any recovery. The Freeze Order should not be modified, for the reasons set forth

   below.

            First, Defendants’ claim that the assets subject to the freeze should be reduced by $318

   million in “business expenses” is not supported by any case law. Defendants rely solely on the

   Supreme Court’s decision in SEC v. Liu, 140 S. Ct. 1936 (2020), but that case addressed only the

   measure of disgorgement after liability has been determined and does not limit the Court’s ability

   to tailor an equitable asset freeze during the initial stages of a case.

            Second, because Liu does not impact the Court’s equitable authority to impose a

   prejudgment asset freeze, the material submitted by Defendants to support their “business

   expenses” argument is irrelevant. Moreover, the material is unsupported, self-contradictory, and

   disproved by the SEC’s compelling evidence at the preliminary injunction hearing that investor

   funds were essentially the only funding source for the Eastern Mirage and Eastern Emerald

   Projects, with Xia misappropriating substantial portions of those funds as well. Thus, claimed

   “business expenses” are not appropriately deductible at this stage from the amount subject to the

   Freeze Order.
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           Third, Defendants rehash arguments from their May 2022 preliminary injunction brief

   regarding the statute of limitations and whether the limited partnership interests are securities;

   those same arguments were rebutted in SEC’s May 2022 briefs and fail for the reasons further set

   forth herein.

           Fourth, Defendants’ argument that the SEC is “oversecured” is meritless. The Freeze

   Order should be sufficient to cover Defendants’ maximum potential liability, which includes

   disgorgement, prejudgment interest and civil penalties, and the frozen assets, including the rental

   properties, are not sufficient to cover that amount, particularly after taking into account

   Defendants’ potentially large liabilities as to other creditors. Accordingly, the rental properties

   should not be released from the Freeze Order.

           Finally, Defendants have failed to fully disclose their financial information. The Freeze

   Order should not be modified absent full disclosure, if at all.

                               RELEVANT PROCEDURAL HISTORY

           Complaint and Emergency Application. On September 27, 2021, the SEC filed a

   Complaint and an ex parte application for temporary emergency relief, including an asset freeze,

   expedited discovery and the appointment of a Monitor. That same day, based on its review of the

   evidence, the Court granted the SEC’s application and issued an Order freezing the “assets, funds

   or other property” of the Defendants and Relief Defendant Julia Yue (“Yue”). DE 95-1. The

   Freeze Order―which applies to all assets of the Defendants and Relief Defendant Yue―has

   remained in place since then.1



           1
             Although the “Whereas” clauses in the Freeze Order recite that the SEC was seeking a freeze of
   “up to the amount of $229 million” of Defendants’ assets, and “up to the amount of $9.7 million” of
   Yue’s assets, see DE 95-1 at 1-2, Part II of the Freeze Order―which contains the actual freeze
   language―contains no limit or cap on the amount of Defendants’ and Yue’s assets subject to the Freeze
   Order. Id. at 6.

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           The Preliminary Injunction Hearing. On February 14, 15 and 16, 2022, the Court

   conducted an evidentiary hearing on the SEC’s motion for a preliminary injunction. At the

   conclusion of the hearing, the Court stated that the “asset freeze continues” until the Court rules

   on the SEC’s pending preliminary injunction motion. Tr. at 673. The parties have completed

   post-hearing briefing on the SEC’s preliminary injunction motion. DE 103, 124, 132.

           The Amended Complaint and Motion for Freeze. On April 6, 2022, the SEC filed an

   Amended Complaint alleging that, in 2021, Xia misappropriated approximately $30 million in

   investor funds to purchase three Long Island mansions, which were put in the names of Yue, Xi

   Verfenstein (“Verfenstein”), and Verfenstein’s mother, Xinming Yu (“Yu”). DE 98. On that day,

   the SEC also filed a motion to expand the asset freeze. DE 99. The parties have fully briefed the

   SEC’s motion to extend the asset freeze over the three mansions. DE 100, 120, 127, 128.2

           Case Status. All Defendants and Relief Defendants―except Yue―have filed Answers,

   DE 145, 150, and the Court issued a Scheduling Order on June 7, 2022. DE 147.

           Defendants’ motion to modify or vacate the Freeze Order. On July 8, 2022, counsel

   for Defendants advised the Court of his intent “to promptly file a motion seeking all appropriate

   relief” with regard to the Freeze Order, DE 166, and on August 15, 2022, the motion papers were

   served on the SEC.

                                                ARGUMENT

   I.      Applicable Standard for Motion to Modify or Vacate an Asset Freeze

           In SEC enforcement actions, federal courts have the authority to impose asset freezes as



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             During the pendency of the SEC’s motion to expand the asset freeze, Verfenstein and Yu agreed
   to “maintain the status quo related to the properties at issue in the SEC’s Motion” and to not “impair the
   properties in any way, including by mortgage, lien, or sale, until the Court decides the SEC’s motion.”
   DE 108.


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   ancillary relief that, “like an attachment,” ensures that “any funds that may become due can be

   collected.” SEC v. Unifund SAL, 910 F.2d 1028, 1041 (2d Cir. 1990). In Unifund Sal, the Second

   Circuit held that it is appropriate for an asset freeze order to “freeze[ ] funds in an amount

   sufficient to cover not just the profits that might have to be disgorged but the civil penalty” as

   well, reasoning that the purpose of an asset freeze order is to allow the SEC to “preserve its

   opportunity to collect funds that may yet be ordered disgorged” after a trial on the merits, which

   includes both illicit profits and a civil penalty. See also SEC v. Maillard, 2014 WL 1660024, at

   *4 (S.D.N.Y. Apr. 23, 2014) (“[T]he SEC is entitled upon an adequate showing ... to an asset

   freeze sufficient to preserve its disgorgement remedy as well as assets necessary to pay civil

   monetary penalties.”); SEC v. Schiffer, 1998 WL 307375, at *7 (S.D.N.Y. June 11, 1998) (“A

   court has the authority to freeze assets at an amount that will cover the maximum civil penalty

   available under applicable law should securities law violations be proven at trial”); SEC v.

   Grossman, 887 F. Supp. 649, 661 (S.D.N.Y. 1995) (“It is irrelevant whether the funds affected

   by the Asset Freeze are traceable to the illegal activity.”).

          The SEC’s burden of proof in connection with an asset freeze application is substantially

   lower than on an application for a traditional preliminary injunction. Unifund Sal, 910 F.2d at

   1040-41. To obtain an asset freeze at this stage, the SEC need only show that an inference can be

   drawn that the party has violated the federal securities laws. Id. (freeze order warranted where

   “there is a basis to infer that” defendants violated the law); see also Smith v. SEC, 653 F.3d 121,

   128 (2d Cir. 2011); SEC v. Jafar, 2015 WL 3604228, *7 (S.D.N.Y. June 8, 2015).

           “To persuade a court to unfreeze assets, the defendant must establish that the funds he

   seeks to release are untainted and that there are sufficient funds to satisfy any disgorgement

   remedy that might be ordered in the event a violation is established at trial. The touchstone of the



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   inquiry is equity.” SEC v. Stein, 2009 WL 1181061, at *1 (S.D.N.Y. Apr. 30, 2009) (denying

   request to modify asset freeze) (citation omitted). “In considering whether to modify an asset

   freeze, ‘the disadvantages and possible deleterious effect of a freeze must be weighed against the

   considerations indicating the need for such relief.’” SEC v. McGinn, Smith & Co., 2013 WL

   12141501, at *7 (N.D.N.Y. Sept. 11, 2013) (quoting SEC v. Manor Nursing Ctrs., Inc., 458 F.2d

   1082, 1106 (2d Cir. 1972)); accord Stein, 2009 WL 1181061, at *1.

   II.    The Freeze Order Should Not Be Reduced By Claimed “Business Expenses.”

          Citing Liu, 140 S. Ct. 1936, Defendants argue that the assets subject to the Freeze Order

   should be reduced by $318 million in “reasonable business expenses” they claim were incurred

   by Xia. Def. Br. at 10.3 They claim that once they are given credit for these expenses, which

   Defendants contend is required by Liu, then “the SEC is not entitled to any asset freeze at all”

   and “no disgorgement” can be ordered. Def. Br. at 2, 15 (emphasis in original).

          Defendants are wrong. Liu says nothing about the scope of an asset freeze, and no court

   has ever held that it does, to the SEC’s knowledge. Liu’s holding―that a disgorgement award is

   equitable relief and should not “exceed a wrongdoer’s net profits”―focused on the

   determination of disgorgement after a liability finding and did not purport to address the scope of

   an asset freeze imposed at the beginning of a litigation. See, e.g., SEC v. Voight, 2021 WL

   5181062, at *4 (S.D. Tex. June 28, 2021) (in responding to a Liu argument, the court noted that

   “[t]he Supreme Court did not address, much less prohibit, asset freezes”).



          3
            This brief uses the following conventions: “Def. Br.” means Defendants’ Memorandum of Law
   in Support of Their Motion to Vacate or Modify Asset Freezing Order dated Aug. 15, 2022; “Rifkin
   Decl.” means the Declaration of Mark Rifkin dated Aug. 15, 2022; “Amideo Decl.” means the
   Declaration of Michael Amideo dated Aug. 15, 2022; “Amideo Rep.” means the report attached as Ex. A
   to the Amideo Decl.; “Decl.” means the Declaration of David Stoelting dated Sept. 9, 2022; “PX” means
   the SEC exhibits admitted into evidence during the Feb. 2022 show-cause hearing; and “DE” means
   Docket Entry.

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              The subsequent proceedings in the Liu case itself make clear that business expenses

    should not be deducted in determining the amount subject to an asset freeze and that this Court

    has the authority to impose an asset freeze over all of Defendants’ assets. After the Supreme

    Court’s decision in Liu, the case was remanded to the district court, which continued the asset

    freeze over all the defendant’s assets pending a decision on the proper amount of disgorgement.

    The defendant challenged the renewed asset freeze in the Ninth Circuit, 851 F. Appx. 665, 667

    (9th Cir. 2021), and argued―like the Defendants here―that the district court should have

    deducted his net profits before entering the asset freeze.

              The Ninth Circuit rejected this argument and held that a finding of the specific amount of

    equitable relief “would be premature at this stage of the proceedings” because a district court is

    not required “to make a finding as to the amount of equitable remedies prior to final judgment.”

    Id. at 668-69. Responding to the argument that the asset freeze improperly froze all the

    defendant’s assets, not just net profits, the Ninth Circuit noted that district courts enjoy broad

    latitude when determining the scope of an injunction. Id. at 669. Given that disgorgement had not

    yet been determined, “it would be impossible to tailor this injunction solely to those assets that

    are net profits from the use of investor funds.” Id.

              The same reasoning supports denial of Defendants’ motion to vacate or modify the

    Freeze Order. Neither liability nor disgorgement has been determined at this time, and discovery

    is just getting underway. Thus, the asset freeze should not be limited by any claimed net profit

    theory.

    III.      Even If Business Expenses Were Deductible for Purposes of the Freeze, Defendants’
              Claim of $318 Million in “Reasonable Business Expenses” Should Be Given No
              Weight.

              Defendants’ claim that purported business expenses should be deducted from the amount



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    to be frozen to satisfy a potential judgment is without merit, as discussed above. But even if the

    Court were to conclude that business expenses could theoretically be deducted from the amount

    frozen, the $318 million in purported business expenses that Defendants claim should be

    subtracted from the amount frozen (Def. Br. at 10-17) is both factually and legally baseless.

            Defendants first claim that the $318 million “includes $48 million in cash which they

    contributed to both Projects and $97.4 million in deferred rent, fees and other compensation to

    which they are contractually entitled,” Def. Br. at 12, but they fail to explain where the additional

    $172.6 million figure comes from. Elsewhere, they claim that the $318 million figure consists of

    costs of “$162 million for the Eastern Mirage Project and $156.7 million for the Eastern Emerald

    Project” Def. Br. at 14, but they again fail to explain the source of these numbers.

            Defendants’ “financial planner and advisor,” 4 Michael Amideo, a non-practicing

    certified public accountant, refers to “Total Hard and Soft Project Costs” of $284,222,168,

    consisting of $16,710,618 (Land) plus $91,341,269 (Construction and Development) plus

    $53,901,250 (Deferred Ground Lease), minus $16,710,618 in land contributed, totaling

    $145,242,519 for Eastern Mirage; and $17,000,000 (Land), plus $104,472,774 (Site

    Improvement) plus $17,506,875 (Deferred Management Fees EEGH and EEGH II), totaling

    $138,979,649 for Eastern Emerald. See Amideo Rep., § 2, table 2. Defendants fail to explain the

    discrepancy between their claimed $318 million in “business expenses” and Amideo’s

    $284,222,168 in “Total Hard and Soft Construction Costs.” Nevertheless, even putting aside

    these discrepancies, for the following are reasons, none of Defendants’ claimed categories of

    “business expenses” should be deducted from the scope of the Freeze Order.

            First, the $318 million figure appears to include “Developer Fees” of approximately


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              Amideo appears to have no background or experience in the construction industry or in
    construction accounting practices.

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    $16.7 million for the Eastern Mirage Project and approximately $9.5 million for the Eastern

    Emerald Project. Def. Br. at 12; Amideo Rep. § 2 fn. **. Defendants provide no evidence to

    support these fees. Indeed, even Amideo states in his Declaration and Report that he was “unable

    to find any documentation of the developer fees.” Amideo Decl. ¶ 6; Amideo Rep., § 2. These

    deferred “Developer Fees,” which Defendants have claimed for the first time in their motion, are

    unsupported by any evidence and should not be deducted from the amount Defendants owe

    investors.

               Second, the $318 million figure appears to include $53,901,250 in deferred rent that

    Fleet Financial Group, Inc. (“FFG”) purportedly owes to X&Y Development, Inc. (“X&Y”),

    Xia’s company, for leasing the land on which the Eastern Mirage Project is located. Def. Br. at 5,

    fns. 2 and 4, Amideo Rep. at § II, table 2. This “deferred rent,” however, is alleged in the

    Amended Complaint to have been part of Xia’s scheme to enrich himself (see Am. Compl. ¶¶

    151-156). There is no basis to deduct from disgorgement deferred rents that Xia is charging his

    own company, co-defendant Fleet, especially where that rent is based on land Xia purchased

    using fraudulently raised investor money (see below discussion at 9).

           Third, the $318 million figure appears to include $17,506,875 in deferred Management

    Fees. See Amideo Rep., § II, table 2. However, there is no basis to deduct this or any amount in

    deferred Management Fees from the amount of ill-gotten gains necessary to make investor

    victims whole. First, the Offering Memoranda for EEGH and EEGH II state that the management

    fee “shall be paid from the cash flow of the Partnership and shall not be deducted from capital

    investment amounts.”5 PX 4-15; PX 6-16 (referring to “revenue” instead of “cash flow”). The

    cash flow of the Partnerships is the interest earned on the investment of investor funds, totaling



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               The management fee is owed to Fleet as the General Partner.

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    approximately $3.2 million from December 2011 through May 2019. PX 140. Thus, Defendants’

    entitlement to management fees would be capped at $3.2 million. Moreover, that amount should

    not be deducted from amount frozen by the Court, given that the deferred management fees have

    not been paid and should not be paid to Xia-controlled entities, given that the fees were part of

    Defendants’ fraudulent scheme.

           Fourth, the $318 million figure appears to include the $16,710,618 purchase price for the

    Eastern Mirage land and the $17,000,000 purchase price for the Eastern Emerald land. Amideo

    Rep., § I, table 1; § II, table 2. However, bank records show that Xia purchased the Eastern

    Mirage land in 2010 using a loan from HSBC, and that Xia paid off the loan in 2015 using

    investor funds. Decl. ¶ 11. As Raymond Dookhie, the SEC’s expert witness who was qualified as

    an accounting expert in the construction industry (PI Hrg. Tr. 516) established, Xia also paid for

    the Eastern Emerald land by misappropriating at least $17 million from the Eastern Mirage

    investors. Decl. ¶ 10; PX 96. Thus, Defendants are not entitled to subtract the $17 million in

    investor funds they misappropriated to purchase the Eastern Emerald land, and the at least $8

    million of investor funds they misappropriated from investors to pay off the HSBC mortgage on

    the Eastern Mirage land. Decl. ¶¶ 10-11.

            Fifth, the $318 million figure appears to include $91,341,269 in purported “Construction

    and Development” costs for the Eastern Mirage Project and $104,472,774 in purported “Site

    Improvement” costs for the Eastern Emerald Project cited by Amideo in his Report. Amideo

    Rep. at § 2, table 2. However, Amideo fails to explain where he obtained these numbers from.

    They appear similar to numbers cited in an appraisal done by Colliers International Valuation

    and Advisory Services (“Colliers”). For example, the Colliers appraisal for the Eastern Mirage

    Project, refers to $93,428,958 in “hard costs,” which is close to the $91,341,269 in “Construction



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    and Development” costs cited by Amideo. Amideo Rep. § 2, table 2. And the Colliers Eastern

    Emerald appraisal (Rifkin Decl., Ex. B “Emerald Appraisal”) at 227, refers to $104,472,774

    “expended in “construction costs, which included site remediation, demolition and foundation

    construction” for the Eastern Emerald Project. However, Colliers took these numbers from Xia,

    without any apparent independent verification or review. See, e.g., Mirage Appraisal at 21

    (stating that “Construction Budget; Pro Forma Income/Expenses Statements; Plans and

    Specifications; Third Party Reports” all obtained from “Developer,” i.e., Xia; Emerald Appraisal

    at 227) (“According to a budget submitted by the developer, approximately $104,472,774 has

    been expended….”). See also Mirage Appraisal at 260; Emerald Appraisal at 236 (“This

    analysis assumes that the financial analysis provided for this appraisal, including rent rolls and

    historical income and expense statements; (sic) accurately reflect the current and historical

    operations of the subject property.”).

            Sixth and finally, Amideo states that Xia invested $31.6 million in cash into the Projects,

    citing to Xia’s summary charts with attached bank records. However, it is not clear what, if any,

    independent review and analysis Amideo performed on Xia’s claimed cash expenditures to

    determine if any of these funds came from investors.6 As Exhibits 1and 2 to the Amideo Report

    (that Xia prepared) shows, a substantial amount of the funds that Xia claims as a personal

    contribution occurred after EB-5 funds were received. More importantly, Amideo fails to take

    into account Raymond Dookhie’s testimony at the preliminary injunction hearing debunking

    Xia’s claims that he contributed significant personal funds to the Eastern Emerald and Easter


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              As noted above, Defendants claim they contributed $48.6 million in cash but never explain how
    they arrived at that figure. This number also conflicts with their claim, also unsupported, that “Defendants
    have contributed more than $65.4 million of their own cash to both Projects,” Def. Br. at 2, and their
    claim that, “[b]efore the Asset Freeze Order was entered, Defendants had already contributed more
    than $31.6 million of their own cash to both Projects.” Def. Br. at 4 (emphasis in original) (citing
    Amideo Report, § 1).

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    Mirage Projects. Dookhie analyzed the flow of investor funds in Xia’s EB-5 offerings through

    nearly 100 bank accounts from December 2011 through January 2019, and concluded that only

    $3.5 million was from sources other than investors. PX 91, 95.

            Thus, there is no basis to deduct any of the claimed $318 million in purported “business

    expenses” from any ultimate disgorgement award, far less from the amount frozen.

    IV.     The Freeze Order Should Not Be Reduced Due to the Statute of Limitations.

            Defendants argue that all claims except those based on the EEGH II offering are barred

    by a five-year statute of limitations. Def. Br. at 17-24. Defendants made essentially the same

    argument in their post-hearing brief filed on May 11, 2022 (DE 124 at 12-16) and the SEC

    rebutted this argument in its post-hearing reply brief filed on May 18, 2022 (DE 132 at 4-8). See

    also DE 133 at 2-4 (SEC reply brief responding to identical statute of limitations argument raised

    by Verfenstein and Yu). Defendants’ arguments fail because, as every court to have considered

    the question has held, the limitations period that Defendants invoke has been superseded by

    statute and a ten-year period governs where, as here, the SEC alleges claims for which scienter

    must be established. And a recent, comprehensive opinion rejected precisely the argument that

    defendants raise here. See SEC v. Sharp, __ F. Supp. 3d ___, 2022 WL 4085676, at *7-*16 (D.

    Mass. Sept. 6, 2022).

            None of the SEC’s claims are time-barred because a ten-year statute of limitations applies

    to each claim and the statutory period began to run less than ten years before the filing of the

    SEC’s Complaint. Accordingly, Defendants’ argument that the SEC is over-secured because it

    can only seek disgorgement of funds obtained from investors in the EEGH II Offering (Def. Br.

    at 16, 24) is meritless.

            Congress enacted a ten-year statute of limitations pursuant to the National Defense

    Authorization Act for Fiscal Year 2021, Pub. L. No. 116-283 (“NDAA”) on January 1, 2021.

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    The NDAA amended § 21(d) of the Securities Exchange Act of 1934 (“Exchange Act”), 15

    U.S.C. § 78aa, by establishing a ten-year statute of limitations for SEC disgorgement claims

    based on certain securities law violations, including claims under Exchange Act § 10(b) [15

    U.S.C. § 78j(b)], Securities Act § 17(a)(1) [15 U.S.C. § 77q(a)(1)], and “any other provision of

    the securities laws for which scienter must be established.” NDAA, § 6501(a)(3), codified at 15

    U.S.C. § 78u(d)(8)(A)(ii) (Exchange Act § 21(d)(8)(A)(ii)). The NDAA also established a ten-

    year statute of limitations for SEC claims for other equitable relief such as injunctions and bars.

    Id., codified at 15 U.S.C. § 78u(d)(8)(B) (Exchange Act § 21(d)(8)(B)). The NDAA specifically

    provides that its provisions “shall apply with respect to any action or proceeding that is pending

    on, or commenced on or after, the date of enactment of this Act.” NDAA, § 6501(b).

            The Supreme Court has stated that such language constitutes an “explicit retroactivity

    command.” Landgraf v. USI Film Products, 511 U.S. 244, 255-56 & n.8 (1994); see also Martin

    v. Hadix, 527 U.S. 343, 354 (1999) (describing the sentence “‘[t]he new provisions shall apply to

    all proceedings pending on or commenced after the date of enactment” as “unambiguously

    address[ing] the temporal reach of the statute” (quoting Landgraf, 511 U.S. at 260)). Because

    the Complaint was filed after the January 2021 enactment of the NDAA, the ten-year statute of

    limitations applies to this case.

            Defendants argue that “[t]he NDAA cannot be given retroactive effect to resurrect

    already extinguished claims,” and cite In re Enterprise Mort. Acceptance Co. Sec Litig., 391 F.3d

    401, 405-06 (2d Cir. 2004) (Def. Br. at 19). However, as Sharp thoroughly explains, 2022 WL

    4085676, at *13, Enterprise, which concerned the retroactivity of § 804 of the Sarbanes-Oxley

    Act (“SOX”) that extended the statute of limitations for private securities fraud cases, is

    distinguishable. Section 804 stated that the new statute of limitations applied to all proceedings



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    “that are commenced on or after the date of enactment of this Act,” which Enterprise held

    “contains none of the unambiguous language that the Supreme Court [in Landgraf] has asserted

    would amount to an express retroactivity command.” 391 F.3d at 407. The NDAA, of course,

    contains the “explicit retroactivity command” identified in Landgraf: the language of the NDAA

    (“shall apply with respect to any action or proceeding that is pending on, or commenced on or

    after, the date of enactment”), which mirrors the “unambiguous” language cited in Landgraf,

    unambiguously states that its provision should be made retroactive. Moreover, the Supreme

    Court has recognized that “a statute of limitations … can be extended … after the cause of action

    arose and even after the statute itself has expired.” Plaut v. Spendthrift Farm, Inc., 514 U.S. 211,

    229 (1995).

           Defendants argue that the NDAA phrase “pending on … the date of enactment” is

    “virtually identical to” the SOX language phrase “commenced on or after the date of enactment

    of this Act” because an action that is “commenced ‘on … the date of enactment” is ‘pending on

    … the date of enactment.” Def. Br. at 20. They then argue that because the Second Circuit in

    Enterprise held that that phrase in SOX meant that Congress did not intend that Act to be

    retroactive, the NDAA was not intended to be made retroactive. Id. As noted, SEC v. Sharp,

    2022 WL 4085676, at *7-16 rejected this very argument, and no court has accepted Defendants’

    position.

           There are numerous additional flaws in Defendants’ argument. Most importantly,

    Defendants misleadingly quote the NDAA. The NDAA states that its provisions “shall apply

    with respect to any action or proceeding that is pending on, or commenced on or after, the date of

    enactment of this Act,” not merely “pending on … the date of enactment,” as Defendants

    misleadingly quote it. Thus, the NDAA by its express terms applies to actions “pending on” the



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    date of the NDAA’s enactment, as well as actions “commenced on or after” the date of

    enactment. This is materially different from the SOX provision in Enterprise, which only applied

    to actions “commenced on or after the date of enactment of this Act,” and not to actions “pending

    on” the enactment date.

           There would be no reason for Congress to include both the phrases “pending on” and

    “commenced on” in the NDAA if they meant the same thing, and indeed they do not. Even if, as

    Defendants argue, an action commenced on a particular date can be considered pending on that

    date, an action that is pending on a particular date is not limited to actions commenced on that

    date, but also includes actions commenced at any time prior to enactment and still ongoing.

           Defendants also ignore the fact that—as the Sharp court catalogued, 2022 WL 4085676,

    at *11—the Second Circuit and, to the SEC’s knowledge, every other court that has considered

    the question, has held that Congress expressly provided that the NDAA is retroactive. See, e.g.,

    SEC v. Fowler, 6 F.4th 255, 260 n.5 (2d Cir. 2021) (NDAA “retroactively imposed a new, ten-

    year statute of limitations” for disgorgement and injunctive relief); SEC v. Hallam, 42 F.4th 316,

    335 & n.76 (5th Cir. 2022) (holding that the NDAA’s language “makes clear that [the statute] is

    retroactive” (quoting Plaut, 514 U.S. at 226)); SEC v. Gallison, __ F. Supp. 3d __, 2022 WL

    604258, at *6 (S.D.N.Y. Mar. 1, 2022) (“pursuant to the NDAA, Congress has explicitly decided

    that a ten-year statute of limitations applies”); SEC v. Spartan Sec. Group, Inc., 2022 WL

    3224008, at *10 (M.D. Fla. Aug. 10, 2022) (applying 10-year statute of limitations to SEC

    disgorgement claim in pending case); SEC v. Navellier & Assoc., Inc., 2021 WL 5072975 at *4

    (D. Mass. Sept. 19, 2021) (same); SEC v. Kellen, 2021 WL 4907238, at *4-5 (C.D. Cal. Sept. 14,

    2021) (“ten-year statute of limitations as applied here is properly considered retroactive civil

    legislation”). Although Fowler and Gallison were both cited in the SEC’s PI Reply (DE 132 at



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    5), Defendants fail to acknowledge or rebut this contrary authority.

            Defendants further fail to recognize the difference between reviving a “cause of

    action”―which the NDAA does not do―and extending the statute of limitations. Defendants

    argue that “the SEC admits that “Section 6501(b) does not revive a ‘time-barred’ cause of

    action.” Def. Br. at 20 (emphasis in original) (citing SEC Reply Br. (DE 132) at 6). Defendants

    then contend it is “odd[ ]” and “inconsistent” for the SEC to argue that the NDAA expands the

    scope of disgorgement remedies. Def. Br. at 20. There is no such inconsistency. The NDAA does

    not revive causes of action; it simply expands the period during the equitable certain remedy of

    disgorgement can be obtained.7 See, e.g., SEC v. Fiore, 416 F. Supp. 3d 306, 332 (S.D.N.Y.

    2019) (“disgorgement is an equitable remedy rather than a cause of action”).8 And the Sharp

    court expressly rejected the “revival” argument. 2022 WL 4085676, at *13-14.

            Defendants’ suggestion, Def. Br. at 20 n.21, that the NDAA’s 10-year statute of

    limitations does not apply here because this action was not “pending on” the date of the NDAA’s

    enactment is also baseless. The NDAA applies to actions “pending on, or commencing on or

    after” the date of enactment of the NDAA; as a result, it applies to this action which was filed

    nearly ten months after enactment.9


            7
               Indeed, while Defendants claim that the statute of limitations expired by December 21, 2016, for
    the first three offerings, at that time, prior to Kokesh v. SEC, 137 U.S. 1635 (2017), it was well
    established that no limitations period applied to the disgorgement remedy, so no claim could have
    expired. And until the NDAA, no statute of limitations applied to the SEC’s injunctive claims, so
    Defendants would not have been immune from liability for any of the conduct charged in the Complaint.
    See SEC v. Gentile, 939 F.3d 549, 566 (3d Cir. 2019).

            8
              Defendants’ reliance upon SEC v. Drexel Burnham Lambert, Inc., 837 F. Supp. 587, 613-14
    (S.D.N.Y. 1993) (Def. Br. at 22 n.25) is also inapposite, as disgorgement is not a “penalty.” Liu, 140 S.
    Ct. at 1942-46 (disgorgement is not a “punitive sanction”); Kellen, 2021 WL 4907238, at *4 (NDAA is
    “civil legislation,” not a penal enactment).
            9
            Defendants misleadingly rely on SEC v. Ahmed, 15-cv-675, 2018 WL 11294677, at *6 (D.
    Conn. Mar. 26, 2018), Def. Br. at 23, for the proposition that disgorgement does not apply to fraud
    committed more than five years before a complaint is filed. That decision, however, was issued prior to

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            Defendants also incorrectly argue that the statute of limitations for purposes of

    disgorgement commences on the date contained on the Offering Memoranda. Def. Br. at 18. That

    argument is contradicted by the plain language of 15 U.S.C. § 78u(d)(8)(A)(ii), which provides

    that: “The Commission may bring a claim for disgorgement under paragraph (7) –…(ii) not later

    than 10 years after the latest date of the violation … [of scienter-based securities provisions].”

    (emphasis added). The Amended Complaint charges Defendants with a scheme to defraud

    investors in violation of Securities Act § 17(a)(1) and (3) and Exchange Act § 10(b) and Rule

    10b-5 thereunder, by, among other means, obtaining investors’ money through fraudulent

    offering documents.10 Ten years before the SEC commenced this action on September 27, 2021

    is October 27, 2011, and a six-month tolling agreement pushes the statute of limitations back to

    March 27, 2011. All but seven investors made their investments after March 27, 2011. See DE 46

    at 29, 52 (Ribaudo Report). Because the SEC alleges that the Defendants obtained each of these

    investors’ funds through their scheme to defraud, the “latest date of the violations” for purposes

    of these claims is at least the date the Defendants received the investors’ funds—which for all

    but seven investors occurred after March 27, 2011. Additionally, because Defendants could not

    have misappropriated investor funds until after they received them (generally after March 27,

    2011), all of the misappropriations fall within the ten-year statute of limitations. This is

    consistent with Congress’s description of disgorgement as a remedy against the “recei[pt]” of

    “unjust enrichment” as a result of a violation. 15 U.S.C. § 78u(d)(3)(A)(ii). For all these reasons,



    the NDAA. After the NDAA became law, the same district court ordered disgorgement award under the
    NDAA’s ten-year statute of limitations. Ahmed, 2021 WL 2471526, at *4.
            10
               Defendants’ reliance on 28 U.S.C. § 2462, Def. Br. at 18, which deals with civil fines, penalties
    and forfeitures, is misplaced. The SEC’s claims for disgorgement are governed by Exchange Act § 21(d),
    not § 2462. See, e.g., Fowler, 6 F.4th at 260 n.5 (“A recent amendment to the Exchange Act took the
    SEC’s claims for disgorgement and injunctive relief outside of the ambit of § 2462.”).


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    Defendants’ claim that disgorgement should be “no greater than the amount necessary to cover

    Defendants’ potential liability to the 84 EEGH II investors after March 27, 2016,” Def. Br. at 24,

    should be rejected. 11

    V.      Given Xia’s Potential Liabilities to Other Creditors and Defendants’ Lack of Liquid
            Assets, the SEC Is Not “Oversecured.”

            The Freeze Order should freeze assets sufficient to cover Defendants’ and Relief

    Defendants’ maximum liability. As the Freeze Order itself states (DE 95-1 at 4), one purpose of

    the freeze is to prevent Defendants and Relief Defendants from dissipating or transferring funds

    or other assets “that could be subject to an order of disgorgement or an order imposing civil

    penalties.” The Complaint and Amended Complaint both assert claims for disgorgement,

    prejudgment interest and civil penalties. And, in a brief filed on May 18, 2022, the SEC made

    clear that the asset freeze “should be sufficient to cover not just disgorgement but also

    prejudgment interest and a civil penalty” and that “the interest and penalty should be

    substantial.” DE 133 at 4-5. Regardless of what amount is deemed frozen pursuant to the Freeze

    Order, however, the question now before the Court is what amount should be frozen pursuant to

    the PI Order yet to be issued.

            The PI Order should be sufficient to cover the Defendants’ potential disgorgement,

    including prejudgment interest, as well as civil penalties. In this case, where the investors have

    been deprived of their funds for many years as a result of Defendants’ fraud, an award of

    prejudgment interest is appropriate. Prejudgment interest represents the amount of money the

    wrongdoer made or could have made by investing monies wrongfully obtained. See, e.g., SEC v.

    Koenig, 557 F.3d 736, 745 (7th Cir. 2009). An award of prejudgment interest is not a punitive


            11
                Defendants also argue that limited partnership interests are not securities. Def. Br. at 13. The
    SEC already addressed this argument in its post-hearing briefs, and it should be rejected for the reasons
    set forth in those briefs. DE 103 at 13-14; 132 at 1-4.

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    award but rather is equitable in nature. SEC v. Lauer, 478 F. Appx 550, 557 (11th Cir. 2012).

             “The decision whether to grant prejudgment interest and the rate used if such interest is

    granted are matters confided to the district court's broad discretion, and will not be overturned on

    appeal absent an abuse of that discretion.” SEC v. First Jersey Secs., Inc., 101 F.3d 1450, 1476

    (2d Cir. 1996) (affirming prejudgment interest of $52 million); SEC v. Haligiannis, 470 F. Supp.

    2d 373, 385 (S.D.N.Y. 2007) (purpose of prejudgment interest is to deprive individuals who have

    had the use of ill-gotten gains of “what amounts to an interest-free loan.”).

             Many courts have held that the scope of an asset freeze order should be an approximation

    of defendant’s “maximum liability,” which necessarily includes “penalties and interest.” SEC v.

    Spongetech Delivery Sys., Inc., 2011 WL 887940, at *11 (E.D.N.Y. Mar. 14, 2011); see also

    Unifund SAL, 910 F.2d at 1042 (order “freezes funds in an amount sufficient to cover not just the

    profits that might have to be disgorged but the civil penalty, equal to three times the profits”);

    SEC v. PlexCorps, 2018 WL 3038500, at *1 (E.D.N.Y. June 19, 2018) (freeze order “necessary

    ‘to preserve the status quo and to protect the Court’s ability to award relief in the form of

    disgorgement of ill-gotten gains, prejudgment interest and civil penalties.’”); SEC v. Maillard,

    2014 WL 1660024, at *4 (S.D.N.Y. 2014) (“SEC is entitled . . . to an asset freeze sufficient to

    preserve its disgorgement remedy as well as assets necessary to pay civil monetary penalties”).

    Prejudgment interest on a $229 million disgorgement award is approximately $68 million. Decl.

    Ex. 1.

             Defendants will also be subject to potential civil penalties pursuant to Securities Act §

    20(d) [15 U.S.C. § 77t(d)] and Exchange Act § 21(d)(3) [15 U.S.C. § 78u(d)(3)], which contain




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    three penalty tiers.12 In cases involving fraud or deceit and a “significant risk of a substantial

    losses to other persons,” the maximum penalty for violations occurring between March 6, 2013,

    and November 2, 2015 is $160,000 per violation for persons, and $775,000 per violation for

    entities. For third-tier violations occurring after November 2, 2015, the maximum penalty for a

    person is $207,183 per violation and $1,035,909 per violation for entities.

             There are different ways to count each “violation” for penalty purposes. For example,

    each misrepresentation or misappropriation; each defrauded investor; each fraudulent offering; or

    each statute violated could all be considered separate violations. The Amended Complaint

    alleges that Defendants committed securities law violations from 2010 through the date of the

    Complaint. Considering each month in which Defendants obtained investor funds through their

    fraudulent scheme to be one violation results in the following potential violations: EEGH – 7

    violations before November 2015; 2 violations after Nov. 2015; EEGH II – 2 violations before 1

    Nov. 2015; 19 violations after Nov. 2015. As a result, the totals are 9 violations before Nov.

    2015, and 21 violations after Nov. 2015. See PX 48 at 19-22, 29-31(list of investors and dates of

    investments). This results in the following penalty amounts:

                           Before Nov. 2015          After Nov. 2015                 TOTALS
     Xia                   160K x 9 = 1,440,000      2017,183 x 21 = 4,350,843       $5,790,843
     Fleet                 775K x 9 = 6,975,000      1,035,909 x 21 = 21,754,089     $28,729,089
                                                                                     $34,519,932


             Adding Fleet’s potential penalty of $28,729,089 to the potential disgorgement amount of

    $229,000,000 and estimated prejudgment interest of $68,000,000 would result in Fleet being

    subject to $623,250,000 in disgorgement, prejudgment interest and penalties of $325,729,089.



             12
              The statute of limitations for penalties is five years. Given that the Complaint was filed on
    September 27, 2021, five years prior to that date, minus the six month tolling agreement, results in a
    penalty period commencing on March 27, 2015.

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    Adding Xia’s potential penalty of $5,790,843 to that amount (disgorgement and prejudgment

    interest can be imposed jointly and severally on Defendants) results in a combined potential

    exposure for Defendants of $331,519,932.13

            Defendants offer appraisals of the two illiquid Properties as evidence the SEC is

    oversecured as to any potential judgment. However, given that Xia remains adamant that the

    Properties not be sold, these appraisals are of little relevance. Moreover, Defendants avoid

    addressing the key question: if at some future time the two Projects were sold, how much could

    be realized for investors in view of all liabilities and creditors?

            There are other reasons to discount the Colliers appraisals. They are significantly higher

    than prior appraisals done in 2019 and 2021. Decl. Ex. 8. Indeed, the material differences among

    the appraisals ―as much as $100 million―casts doubt on their utility. All appraisals, moreover,

    are tainted because they rely to a large extent on information provided by Xia, whose has serious

    credibility issues. See PI Hrg. Tr. 663 (Court’s statement that “I found so much of Mr. Xia's

    testimony unbelievable and incredible and proven demonstrably false by records and other

    testimony.”). For example, the “Extraordinary Assumption” in the Colliers appraisal for Eastern

    Emerald assume that “[t]he estimated development/construction costs provided by the developer

    are a true representation of the total and remaining costs to develop the property.” Emerald

    Appraisal at (pdf) 4. Given the record in this case, the appraisals are of little value since they

    derive from information Xia provided. See also DE 53 at 17-19 (Monitor’s report on appraisals).

            The relevant question in the context of an asset freeze is what the property is worth if it is



            13
              If each defrauded investor is considered a violation, then during the statute of limitations period
    (155 EEGH investors from March 27, 2015 through December 9, 2015 and 126 EEGH II investors from
    October 30, 2015 through October 12, 2017, PX 48) would result in substantially higher penalties. For
    example, even applying the lower pre-November 2015 penalty maximums results in penalties of
    $44,960,000 for Xia (281 investors x $160,000) and $217,775,000 for Fleet (281 investors x $775,000).

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    sold to satisfy a judgment. Yet Colliers declined to address this very question with respect to

    Eastern Mirage, stating that it would not present a Sales Comparison Approach: “Due to unique

    characteristics of the interest being appraised or lack of market transactions of like substitute

    comparable properties, insufficient sales data is available to provide a credible value opinion by

    the Sales Comparison Approach.” Rifkin Decl. Ex. A, at 123.

           Instead, Colliers provided valuations using the Income Approach and the Cost Approach.

    The Income Approach, however, is of little value because it is based on what the Eastern Mirage

    Project will be worth once it is fully developed and in operation—a scenario that may never

    occur given the lack of sufficient funding in the Eastern Mirage bank accounts to cover the costs

    of completion. The Income Approach is also unreliable given that it is heavily dependent on

    numerous assumptions based on information provided by Xia as to the cost to complete the

    project, site plans and specifications, unit counts, project design and size. See Mirage Appraisal

    (Colliers Letter of Transmittal, Extraordinary Assumptions). It is also based on numerous

    speculative assumptions as to future occupancy rates for the proposed hotel, garage and medical

    center, future expenses, and future income to be generated by those components. Mirage

    Appraisal at 125-236. And the Cost Approach should also be given little weight because the cost

    to replace the Project has no bearing on what value will be generated if the Project is sold to

    satisfy a judgment—the relevant question for purposes of an asset freeze.

           Colliers’ valuation of the Eastern Emerald Project is also flawed. Colliers provides an “as

    is” valuation of $270,200,000 for the Eastern Emerald land. However, that figure is based on its

    estimated underlying land value of $101,750,000 based on a comparable sales analysis, plus

    $104,472,733 in construction costs to date (based entirely on Xia’s representations), and the

    discounted present value of $63,973,806 in remaining Brownfield credits. Emerald Appraisal, at



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    226-228. However, the alleged approximately $104.5 million in construction costs to date are

    suspect because they are based entirely on Xia’s representations and questionable records and the

    purported construction costs are not readily convertible into realizable market value.14 In

    addition, the Brownfield tax credits should not be included.15

            Moreover, the Eastern Mirage and Eastern Emerald Projects are highly illiquid assets.

    There can be no assurance that, at the conclusion of this case, likely several years in the future,

    they will have the same value or that there will be willing buyers for them at the estimated

    appraised value. Furthermore, absent appointment of a Receiver with the authority to sell the

    Eastern Mirage and Eastern Emerald Projects, satisfying a judgment through these frozen assets

    will be further complicated by the fact that Xia will still own the properties. This makes the

    inclusion in the asset freeze of the rental properties all the more important to ensure that any

    money judgment can be satisfied.



            14
               Colliers also provides a valuation of the Eastern Emerald Project based on the Income
    Approach. Emerald Appraisal at 110-210. However, that valuation is based on the highly unlikely
    assumption that the Eastern Emerald Project will be fully built out, given that the Eastern Emerald Project
    is currently vacant land and given the lack of sufficient funds to complete construction. That valuation
    approach is therefore not only speculative but also irrelevant to the question of what the Eastern Emerald
    land is worth if it is sold “as is” to satisfy a judgment.

            15
                Defendants mistakenly claim that the amount currently frozen should also take into account
    $84 million in Brownfield remediation tax credits. Def. Br. at 1; 6, fn. 7. However, as Amideo
    acknowledges, it appears only $14,861,028 in credits have been realized to date, consisting of a
    $10,968,786 payment and a $3,892,242 “held check.” Amideo Rep. § 5. The remaining potential tax
    credits are $69,194,067. Id.at § 6. However, as noted in the Monitor’s Report, DE 53 at 16, and taking
    into account the money Defendants received from the state last month, $33,948,357 of the remaining
    potential tax credits consists of potential Site Preparation credits for the tax years 2016 through 2018,
    which are under audit, and for tax years 2019 and 2020, for which tax returns have not yet been filed.
    The remainder, which is capped at $35 million, consists of a Tangible Property credit, which requires that
    the Eastern Emerald Project be completed and put to “commercial or residential use” by 2025, an unlikely
    prospect given current circumstances, including the lack of any viable financing plan advanced by
    Defendants. Given the uncertainty whether any portion of the approximately $69 million in non-issued
    Brownfield tax credits will be issued, they should not be included in calculating the amount of assets
    currently frozen or added to the value of the Eastern Emerald land, as the Colliers appraisal erroneously
    does.

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            The asset freeze should also take into account potential claims against the frozen assets,

    including present and future creditors, as Xia and his affiliated entities are subject to

    considerable liabilities apart from the SEC action. For example, Xia is responsible for paying

    nearly $30 million in mortgages and liens that he incurred by misappropriating investor funds to

    purchase the three Long Island mansions. There are also nearly thirty pending lawsuits against

    Xia and his entities, and he faces significant exposure from these actions. Decl. Ex. 6 (listing

    more than two dozen pending actions against Xia). Xia has also failed to secure Builder’s Risk

    insurance on the Eastern Mirage property, which exposes that site to potential catastrophic

    losses. DE 115 at 2-3, 170 at 11 (Monitor’s reports on Builder’s Risk insurance). There are also

    property taxes on both properties, mechanics liens (PX47), unpaid building violations, Monitor

    fees, and other expenses that must be paid. These expenses could well deplete a significant

    portion of the remaining cash.

            For all the foregoing reasons, the rental properties are necessary to ensure that sufficient

    assets are frozen and available to satisfy a potential disgorgement order of up to $229 million,

    plus approximately $68 million in prejudgment interest and a civil money penalty.16

    VI.      The Freeze Order Should Not Be Modified In Any Respect, If At All, Until Xia
             Fully Discloses All Relevant Financial Information.

            Xia has consistently failed to adequately and fully disclose his financial assets. The sworn

    accounting he provided in October 2021 contained a disclaimer stating that it had “not been

    prepared, substantiated, authenticated, verified or vetted, in whole or in part, by any accountant,


            16
               The 15 rental properties (Decl. Ex. 2) are properly within the scope of the Freeze Order as an
    asset of Xia’s, regardless of whether he obtained them before or during the fraud. “[T]he SEC need not
    demonstrate that the frozen assets are traceable to the fraud, it must show that the amount is an
    approximation of defendant’s maximum liability.” Spongetech, 2011 WL 887940, at *11. The value of
    the rental properties is also uncertain: Defendants’ claim they have “a combined value of approximately
    $11 million,” but they provide no justification for this estimate. Def. Br. at 8.


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    lawyer or other professional-service provider.” DE 19. In addition, Xia has refused to disclose

    how much money he has received from the 15 rental properties, although the SEC has served

    discovery requests seeking such information in November 2021 and March 2022. It is also

    unclear how Xia is paying for his day-to-day expenses, as he has never asked for a carve-out for

    living expenses. Xia also appears to have access to funds, as payments of $440,000 to the Sills

    Cummis law firm, and $250,000 to the WilmerHale law firm, were made on Xia’s behalf. Decl.

    Ex. 7.17 In addition, Xia violated the Freeze Order two days after it went into effect by

    transferring $200,000 to an account in Yue’s name. DE 101-29 at 1, 8. And public records show

    that Xia apparently is seeking to sell at least three of the rental properties, which would violate

    the Freeze Order: 133-54 Avery Ave, Flushing, NY; 63-98 Wetherole St; and 140-22 Beech

    Ave, unit 9C. Decl. Exs. 3, 4, 5.

            Xia’s conduct throughout this action demonstrates that the equities do not favor any

    modification of the freeze. At a minimum, the motion should be denied at least until after Xia

    has fully documented his current income, expenses, and assets, including a full accounting of all

    income received from the rental properties, and the disposition of all such funds, including a full

    disclosure of information regarding the sources and amounts of payments for Xia’s legal fees.

    See Liu, 851 F. Appx. at 669 (declining to modify freeze covering all defendant’s assets due to

    his “refusal to provide an accounting―or any other information―that would allow the district

    court to tailor a narrower freeze”); Stein, 2009 WL 1181061, at *2 (denying defendant’s motion



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                In July 2022, the SEC served document subpoenas on the current lawyers for the Defendants,
    Verfenstein and Yu, seeking documents relating to payments to them by or on behalf of Xia. The
    subpoenas did not seek any privileged documents. See In re Grand Jury Subpoena Served Upon John
    Doe, 781 F.2d 238, 247 (2d Cir.1986) (en banc) (“We consistently have held that. . .client identity and fee
    information are not privileged.”). No responsive documents have been produced yet, however, and the
    parties are engaged in a meet-and-confer process.


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    to modify asset freeze “without prejudice to its renewal upon a comprehensive accounting of all

    of [defendant’s] assets and liabilities”).

                                            CONCLUSION

            For the reasons set forth above, the SEC respectfully requests that the Court deny the

    Defendants’ motion to vacate or modify the asset freeze.

    Dated: New York, New York
           September 9, 2022
                                                 Respectfully submitted,

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